                Case: 22-11036       Document: 112 Page: 1 Date Filed: 08/14/2023
                                              *REVISED*
                              ORAL ARGUMENT ACKNOWLEDGMENT FORM
       U.S. COURT OF APPEALS FOR THE FIFTH CIRCUIT, 600 S. Maestri Place, New Orleans, LA 70130
                                         (504) 310-7700



I, Erik S. Jaffe
                                                              (Full Name)

   as DUJXLQJ counsel, acknowledge receiving notice that the below case has been scheduled for
   oralargument with the 8QLWHG6WDWHV&RXrt of AppealsIRUWKH)LIWK&LUFXLW


   22-11036                     Charitable DAF Fund, L.P.                          v. Highland Capital Management, L.P.
      (Case Number)                                                           (Short Title)

   is scheduled for oral argument at                9:00 am        on            September 5, 2023                   located in the
                                                     (Time)                                   (Date)

   NEW ORLEANS - U.S. Court of Appeals for the Fifth Circuit, 600 Camp Street, New Orleans, LA, 70130
                                                               (Location)



   /s/ Erik S. Jaffe                                                                                       August 9, 2023
                                      (Signature)                                                                (Date)



                     List all parties being represented for argument and select the party type
   The Charitable DAF Fund, L.P.; CLO Holdco, Ltd.; Mark Patrick; Sbaiti & Company, PLLC;
   Mazin A. Sbaiti; Jonathan Bridges



         ■

    Appellant          Appellee            Cross Appellant                  Cross Appellee              Amicus            Intervenor
       According to this court's rules, a cross or separate appeal will be argued with the initial appeal during the same argument,
       unless the court directs otherwise. If a case involves a cross appeal, the party who first files a notice of appeal is
       considered the appellant unless the parties otherwise agree or the court directs otherwise. If separate appellants support
       the same argument, they are to avoid duplication of argument.
      THE ORDER OF PRESENTATION & DIVISION OF ORAL ARGUMENT TIME WILL BE AS FOLLOWS:
                              (Counsel Name)                                  (Time in Minutes)        (Rebuttal Time)*
       #1 Erik S. Jaffe                                                              12       *REVISED*       3
       #2
       #3
       #4
       #5

        6(66,21 10

                  *Rebuttal time for appellants only. The court prefers no more than 5 minutes for rebuttal.



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